     Case 3:12-cr-04128-GPC                Document 88           Filed 12/14/15            PageID.276       Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations                                           FILED
                                    UNITED STATES DISTRICT COUR                                               DEC J 4 20'5
                                          SOUTHERN DISTRICT OF CALIFORNIA                                                 TCOURT
                                                                                                                           CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMt~~bA~~~r---=D~EP~U:.:..:TY!J
                                                                    (For Revocation of Probation or Supervised Release I
                                                                    (For Offenses Committed On or After November 1, 19 7)
                               V.
               DESIREE DEE MURILLO (1)
                                                                       Case Number:        12CR4128-GPC

                                                                    JAMl FERRARA
                                                                    Defendant's Attorney
REGISTRA TION NO.              34984298
0­
THE DEFENDANT:
IZI admitted guilt to violation of allegation(s) No.       3
                                                         -----------------------------------------------­
o was found gUilty in violation ofallegation(s) No.                                                  after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty ofthe following allegation(s):

Allegation Number                 Nature of Violation
            3                     Committed a federal, state, or local offense




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                    December 11. 2015



                                                                    HON. Gonzalo P. Curiel
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                  12CR4128-GPC
      Case 3:12-cr-04128-GPC           Document 88        Filed 12/14/15       PageID.277        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                DESIREE DEE MURILLO (1)                                                  Judgment - Page 2 of2
CASE NUMBER:              12CR4128-GPC

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 4 months.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
        o   at                              A.M.              on
             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
        o   on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to ------------------------------
 at                                       , with a certified copy of this judgment.
      ------------------------


                                                                                      MARSHAL



                                     By
                                          ---------------------------------- ----------------
                                                     DEPUTY UNITED STATES MARSHAL



                                                                                                       12CR4128-GPC
